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                          EXHIBIT 6
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The following terms and conditions (the “IO Agreement”) shall be deemed to be incorporated into
and made a part of any applicable Insertion Orders (the “Insertion Order”)

1.     Payment. Payment shall be made to Company within a monthly, net 30 day term within the
       mentioned completion of the Download Insertion Order

2.     Qualified Conversion Definition (Qualified Conversion): Qualified Conversions are
       defined in the Insertion Order(s) as users who have downloaded the Advertisers App as further
       defined in the IO below. Advertiser will verify each Qualified Conversion delivered by the
       Company to ensure that it has not been previously supplied by the Company. Each Qualified
       Conversion is subject to verification by Forensiq. Those deemed High Risk shall be
       disqualified. Final Qualified Conversions will be billed according to The Blu Market numbers
       recorded in Has Offers.

3.     Limitation of Liability. NEITHER PARTY WILL HAVE ANY LIABILITY OR
       RESPONSIBILITY FOR ANY SPECIAL, INDIRECT, INCIDENTAL, CONSEQUENTIAL
       OR EXEMPLARY DAMAGES IN CONNECTION WITH THIS AGREEMENT
       (HOWEVER ARISING, INCLUDING NEGLIGENCE) INCLUDING, WITHOUT
       LIMITATION, DAMAGES RELATING TO THE LOSS OF PROFITS, INCOME OR
       GOODWILL, EVEN IF IT IS AWARE OF THE POSSIBILITY OF SUCH DAMAGES.
       WITH THE EXCEPTION OF INDEMNIFICATION OBLIGATIONS, IN NO EVENT
       WILL EITHER PARTY’S LIABILITY FOR MONETARY DAMAGES UNDER THIS
       AGREEMENT EXCEED THE AMOUNT PAID BY ADVERTISER TO COMPANY
       UNDER THIS AGREEMENT.

5.       Company’s Representations; Indemnification. (i) Each party warrants that it has the right
to perform its obligations herein without infringing upon the rights of any third party and the use,
reproduction, distribution or transmission of any advertising material used by it (“Ad Content”) will
not violate any applicable law, rule or regulation; and (ii) each party will perform its obligations in
compliance with this Agreement. Each party agrees, at its own expense, to indemnify, defend and
hold harmless the other and its officers, directors, employees, representatives, agents, and
subsidiaries, hereinafter referred to as “Affiliates” from and against third party claims, actions,
liabilities, losses, expenses, damages and costs of any kind (including reasonable attorneys' fees and
costs) that may at any time be incurred by any of them by reason of any claims, suits, or
administrative proceedings arising from or related solely to the breach by the other of an Insertion
Order, the Agreement, and/or any representation or warranty contained herein. The indemnified
party will notify the other promptly of any claim, action or demand for which indemnity is claimed
and will cooperate reasonably with the other at the other’s sole cost and expense. The indemnified
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party will have the right to participate in any defense of such a claim and/or to be represented by
counsel of its own choice and at its own cost and expense. The indemnifying party may not settle
any lawsuit relating to the Ad Content without obtaining the prior written consent of indemnified
party or in absence of such consent, an unconditional release in favor of indemnified party.

6.    Warranties. EXCEPT AS EXPRESSLY SET FORTH HEREIN, NEITHER PARTY
MAKES ANY OTHER REPRESENTATIONS, WARRANTIES OR GUARANTEES OF ANY
KIND, EITHER EXPRESS OR IMPLIED, AND DISCLAIMS ALL OTHER WARRANTIES OF
MERCHANTABILITY, FITNESS FOR A PARTICULAR PURPOSE OR OTHER
WARRANTIES ARISING BY USAGE OF TRADE, COURSE OF DEALING OR COURSE OF
PERFORMANCE. WITHOUT LIMITING THE FOREGOING, EACH PARTY DOES NOT
WARRANT OR GUARANTEE THAT THE SERVICES CONTAINED HEREIN OR THE
OPERATION THEREOF WILL BE UNINTERRUPTED.

7.      Publicity. Other then as permissible herein, neither party shall make public any information
relating to or concerning this Agreement and/or an Insertion Order nor the services provided under
this Agreement and/or an applicable Insertion Order.

8.      Confidentiality. As used herein, “Confidential Information” shall mean: (a) Advertiser’s
proprietary information marked or designated as such; (b) information marked or designated by
Advertiser as confidential; (c) the terms and conditions of any Insertion Orders and this Agreement;
and Company acknowledges that, as a result of the provision of services pursuant to an Insertion
Order and this Agreement, Advertiser may disclose Confidential Information to Company.
Therefore, Company agrees that it will make no disclosure of Confidential Information without
obtaining Advertiser’s prior written consent. Additionally, Company will restrict disclosure of
Confidential Information to its employee(s), authorized agent(s), or independent contractors to
whom disclosure is reasonably required, and such employee(s), authorized agent(s) and/or
independent contractor(s) will use reasonable care, but not less care than they use with respect to
their own information of like character, to prevent disclosure of any Confidential Information.
Nothing contained in any Insertion Order and this Agreement shall be construed as granting or
conferring rights by license or otherwise in any Confidential Information disclosed under any
Insertion Order or this Agreement. This Section shall survive any termination of this Agreement
for a period of 1 year thereafter. Notwithstanding anything contained herein to the contrary,
confidentiality provisions shall not apply where Company can demonstrate with clear evidence that
the information: (a) was previously known to it at the time of disclosure, free of any obligation to
keep it confidential; (b) became publicly known through no wrongful act of it; (c) was rightfully
received by it from a third party who was not bound under any confidentiality provisions; or (d)
was disclosed pursuant to judicial order, requirement of a governmental agency or by operation of
law.

9.      Termination. Each party may terminate this Agreement or Insertion Order at any time for
any reason upon seven (7) business days prior written notice to the other party. Such termination
shall not relieve Advertiser of its obligations hereunder to pay the pro rata portion of the set CPI
amount based upon the number of downloads inserted through the effective date of termination.

10.     Miscellaneous. Any and all Insertion Orders and this Agreement: (i) shall be governed by
and construed in accordance with the laws of the State of New York, without giving effect to
principles of conflicts of law, and the parties consent to the exclusive jurisdiction of the State and
federal courts having jurisdiction over the State of New York; (ii) may be amended only by a
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written Agreement executed by an authorized representative of each party; and (iii) constitute the
complete and entire expression of the Agreement between the parties, and shall supersede any and
all other Agreements, whether written or oral, between the parties. In the event that any provision
of this Agreement shall for any reason be held to be invalid, illegal or unenforceable in any respect,
the remaining provisions shall remain in full force and effect. Sections that by their nature survive
termination or expiration of this Agreement shall survive the termination or expiration of this
Agreement. Nothing contained in any Insertion Order or this Agreement shall create any
relationship of partnership, agency, franchise or joint venture between the parties. Neither party has
the authority to bind the other or incur any obligation on the others’ behalf.


The BLU Market Inc.                                 Maiden Marketing Pte Ltd




Signature:                                           Signature:

Name: Lisa Navarro                                   Name: Vaibhav Odhekar

Title: Sr. VP Operations                             Title: Director

Date:                                                Date: 5th April 2017


                                          INSERTION ORDER




    “Company” Sales Contact                                 “Publisher” Account Contact

    Contact:                                                Contact:           Arpit Patel

    Telephone:                                              Telephone:         9967651709

    Fax:                                                    Fax:               NA


    Email:                                                  Email:             arpit@pokkt.com

                      400 Broome Street, 11th Floor,                           Regd 79, Ayer Rajah Crescent,
    Address:          Ny, Ny, 10013                         Address:           #04-09, Singapore 139955


    Company Accounts Receivable Contact                     Publisher Billing Contact

    Contact:          Accounting@theblumarket.com           Contact:           billing@pokkt.com

    Telephone:                                              Telephone:         91 22 66715893
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     Fax:                                                                    Fax:                   NA

                            Accounting@theblumarket.com
     Email:                 Lisa@TheBluMarket.com                            Email:                 billing@pokkt.com



                            400 Broome Street, 11th Floor,                                          Regd 79, Ayer Rajah Crescent,
     Address:               Ny, Ny, 10013                                    Address:               #04-09, Singapore 139955




Terms and Conditions: The attached Terms and Conditions shall be deemed incorporated by reference into this insertion order (the
“Insertion Order This Insertion Orders is subject to acceptance by Company. The Terms and Conditions above and this Insertion Order
shall be collectively known as the “Agreement.”

                                               Campaign Details and Special Conditions

     Agreement specifics can be modified and changed via email confirmation from both parties.




                                                                       Ad Type


     via Link on network


                                                                   Pricing Method
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Campaign Name: ____Multiple________________________


By signing below, Publisher agrees to be bound by the terms of this Insertion Order and the
Agreement.



Signature:                                     Title: Director

Name Vaibhav Odhekar                           Date: 5th April 2017
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                                  Espire Ads, LLC | 237 E. 24th Street, Suite 701 | New York, NY 10016
The following terms and conditions shall be deemed to be incorporated into and made a part of any applicable
Insertion Orders (the “Insertion Order”)

Payment. Payment shall be made to Company as defined in the Insertion Order.

Qualified Conversion Definition (Qualified Conversion): Qualified Conversions are defined in the Insertion
Order(s).

Limitation of Liability. NEITHER PARTY WILL HAVE ANY LIABILITY OR RESPONSIBILITY FOR ANY
SPECIAL, INDIRECT, INCIDENTAL, CONSEQUENTIAL OR EXEMPLARY DAMAGES IN
CONNECTION WITH THIS AGREEMENT (HOWEVER ARISING, INCLUDING NEGLIGENCE)
INCLUDING, WITHOUT LIMITATION, DAMAGES RELATING TO THE LOSS OF PROFITS, INCOME
OR GOODWILL, EVEN IF IT IS AWARE OF THE POSSIBILITY OF SUCH DAMAGES. WITH THE
EXCEPTION OF INDEMNIFICATION OBLIGATIONS, IN NO EVENT WILL EITHER PARTY’S
LIABILITY FOR MONETARY DAMAGES UNDER THIS AGREEMENT EXCEED THE AMOUNT PAID
BY ADVERTISER TO COMPANY UNDER THIS AGREEMENT.

Company’s Representations; Indemnification. (i) Each party warrants that it has the right to perform its
obligations herein without infringing upon the rights of any third party and the use, reproduction, distribution or
transmission of any advertising material used by it (“Ad Content”) will not violate any applicable law, rule or
regulation; and (ii) each party will perform its obligations in compliance with this Agreement. Each party agrees,
at its own expense, to indemnify, defend and hold harmless the other and its officers, directors, employees,
representatives, agents, and subsidiaries, hereinafter referred to as “Affiliates” from and against third party claims,
actions, liabilities, losses, expenses, damages and costs of any kind (including reasonable attorneys' fees and
costs) that may at any time be incurred by any of them by reason of any claims, suits, or administrative
proceedings arising from or related solely to the breach by the other of an Insertion Order, the Agreement, and/or
any representation or warranty contained herein. The indemnified party will notify the other promptly of any
claim, action or demand for which indemnity is claimed and will cooperate reasonably with the other at the
other’s sole cost and expense. The indemnified party will have the right to participate in any defense of such a
claim and/or to be represented by counsel of its own choice and at its own cost and expense. The indemnifying
party may not settle any lawsuit relating to the Ad Content without obtaining the prior written consent of
indemnified party or in absence of such consent, an unconditional release in favor of indemnified party.

Warranties. EXCEPT AS EXPRESSLY SET FORTH HEREIN, NEITHER PARTY MAKES ANY OTHER
REPRESENTATIONS, WARRANTIES OR GUARANTEES OF ANY KIND, EITHER EXPRESS OR
IMPLIED, AND DISCLAIMS ALL OTHER WARRANTIES OF MERCHANTABILITY, FITNESS FOR A
PARTICULAR PURPOSE OR OTHER WARRANTIES ARISING BY USAGE OF TRADE, COURSE OF
DEALING OR COURSE OF PERFORMANCE. WITHOUT LIMITING THE FOREGOING, EACH PARTY
DOES NOT WARRANT OR GUARANTEE THAT THE SERVICES CONTAINED HEREIN OR THE
OPERATION THEREOF WILL BE UNINTERRUPTED.

Publicity. Other then as permissible herein, neither party shall make public any information relating to or
concerning this Agreement and/or an Insertion Order nor the services provided under this Agreement and/or an
applicable Insertion Order.
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Confidentiality. As used herein, “Confidential Information” shall mean: (a) Advertiser’s proprietary information
marked or designated as such; (b) information marked or designated by Advertiser as confidential; (c) the terms
and conditions of any Insertion Orders and this Agreement; and Company acknowledges that, as a result of the
provision of services pursuant to an Insertion Order and this Agreement, Advertiser may disclose Confidential
Information to Company. Therefore, Company agrees that it will make no disclosure of Confidential Information
without obtaining Advertiser’s prior written consent. Additionally, Company will restrict disclosure of
Confidential Information to its employee(s), authorized agent(s), or independent contractors to whom disclosure is
reasonably required, and such employee(s), authorized agent(s) and/or independent contractor(s) will use
reasonable care, but not less care than they use with respect to their own information of like character, to prevent
disclosure of any Confidential Information. Nothing contained in any Insertion Order and this Agreement shall be
construed as granting or conferring rights by license or otherwise in any Confidential Information disclosed under
any Insertion Order or this Agreement. This Section shall survive any termination of this Agreement for a period
of 1 year thereafter. Notwithstanding anything contained herein to the contrary, confidentiality provisions shall
not apply where Company can demonstrate with clear evidence that the information: (a) was previously known to
it at the time of disclosure, free of any obligation to keep it confidential; (b) became publicly known through no
wrongful act of it; (c) was rightfully received by it from a third party who was not bound under any
confidentiality provisions; or (d) was disclosed pursuant to judicial order, requirement of a governmental agency
or by operation of law.

Termination. Each party may terminate this Agreement or Insertion Order at any time for any reason upon 48
hour prior written notice to the other party. Such termination shall not relieve Advertiser of its obligations
hereunder to pay the pro rata portion of the set CPI amount based upon the number of downloads inserted through
the effective date of termination.

Miscellaneous. Any and all Insertion Orders and this Agreement: (i) shall be governed by and construed in
accordance with the laws of the State of New York, without giving effect to principles of conflicts of law, and the
parties consent to the exclusive jurisdiction of the State and federal courts having jurisdiction over the State of
New York; (ii) may be amended only by a written Agreement executed by an authorized representative of each
party; and (iii) constitute the complete and entire expression of the Agreement between the parties, and shall
supersede any and all other Agreements, whether written or oral, between the parties. In the event that any
provision of this Agreement shall for any reason be held to be invalid, illegal or unenforceable in any respect, the
remaining provisions shall remain in full force and effect. Sections that by their nature survive termination or
expiration of this Agreement shall survive the termination or expiration of this Agreement. Nothing contained in
any Insertion Order or this Agreement shall create any relationship of partnership, agency, franchise or joint
venture between the parties. Neither party has the authority to bind the other or incur any obligation on the
others’ behalf.



Company: Espire Ads, LLC                                 Advertiser: _Fuzzy Button Games_______________

Signature:                                               Signature:

Name:                                                    Name:

Title:                                                   Title:

Date:                                                    Date:
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                                                           INSERTION ORDER


“Company” Sales Contact                                              “Advertiser” Account Contact
Contact:             Erik Radtke                                     Contact:
Telephone:           952-457-6770                                    Telephone:
Email:               erik@espireads.com                              Email:
                     237 E. 34th Street, Suite 701
Address:             New York, NY 10016                              Address:
Company Accounts Receivable Contact                                  Advertiser Billing Contact
Contact:             Lisa Navarro                                    Contact:
Telephone:           (951) 710-7325                                  Telephone:
Email:               accounting@espireads.com                        Email:
                     237 E. 34th Street, Suite 701
Address:             New York, NY 10016                              Address:
  Terms and Conditions: The attached Terms and Conditions shall be deemed incorporated by reference into this insertion order (the
  “Insertion Order This Insertion Orders is subject to acceptance by Company. The Terms and Conditions above and this Insertion Order shall
  be collectively known as the “Agreement.”

                                      Campaign Details and Special Conditions
  Campaign will run from date of signature until further notice. Daily cap will be set at $600 per day.
  Qualifying conversions are defined as a new user that installs and opens the app (CPI). The campaign will
  target US mobile users on iOS and Android. The CPI price for iOS is $0.50 and the Android price is $0.05.
  Campaign details may be modified by mutually confirmed emails.
                                                              Ad Type

  Allowed traffic is influencer created content, posted on private social media pages,
  web offer wall content locking traffic, and media buying.
                                                           Pricing Method

  Pricing will be based on tracked installs, recorded in the Espire Dashboard. Advertiser is
  responsible for payment no less than 15 days (NET15) following the end of the campaign or
  the end of the month in which the offer was run.


  Campaign Name: Spin2win Q3
  By signing below, Advertiser agrees to be bound by the terms of this Insertion Order and the
  Agreement.

  Signature:                                                          Title:

  Name:                                                               Date:_____________________________
